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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                          )   CASE NO.: 1:22CR450
                                                    )
                Plaintiff,                          )   JUDGE CHRISTOPHER A. BOYKO
                                                    )
        v.                                          )
                                                    )
 MATTHEW TURNIPSEEDE,                               )   UNITED STATES’ SENTENCING
                                                    )   MEMORANDUM
                Defendant.                          )

       The United States of America, by and through its counsel, Acting United States Attorney

Carol M. Skutnik, and Erica D. Barnhill, Assistant United States Attorney, respectfully submits

this memorandum setting forth the United States’ position regarding the sentencing of Defendant

Matthew Turnipseede. For the reasons set forth below and those to be articulated at the

sentencing hearing, the United States respectfully asks that this Court apply upward adjustments

for sophisticated means and use of a special skill; decline to apply the zero-point offender

adjustment when calculating Turnipseede’s Guidelines level, and set Turnipseede’s total offense

level at 28. The United States further requests that this Court impose a sentence within the

resulting 78 to 97 month Guidelines range.

I.     APPLICABLE LEGAL STANDARDS

       A well-established legal framework guides the Court’s sentencing determination. The

advisory Guidelines range serves as “the starting point and the initial benchmark.” Gall v.

United States, 552 U.S. 38, 49 (2007); see also United States v. Collington, 461 F.3d 805, 807

(6th Cir. 2006). The Guidelines thus remain an indispensable resource for assuring appropriate

and uniform punishment for federal criminal offenses. The Sentencing “Commission fills an

important institutional role: It has the capacity courts lack to ‘base its determination on
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empirical data and national experience, guided by a professional staff with appropriate

expertise.’” Kimbrough v. United States, 552 U.S. 85, 109 (2007) (internal citation omitted).

After determining the appropriate Guidelines range, the Court then turns to the familiar factors

set forth in 18 U.S.C. § 3553(a): the need for the sentence imposed to reflect the seriousness of

the offense, promote respect for the law, and provide just punishment for the offense; to afford

adequate deterrence to criminal conduct; to protect the public from further crimes of the

defendant; and to provide the defendant with needed educational or vocational training, medical

care, or other correctional treatment in the most effective manner.

II.    SENTENCING GUIDELINES COMPUTATION

       The parties’ offense level calculation in the plea agreement contains both an agreed

calculation and additional disputed adjustments (R. 28: Pre-Sentence Report (“PSR”), PageID

208, ¶ 2-3). The parties agree on the following:

       Wire Fraud 18 U.S.C. § 1343 (Counts 2, 3, 7, 8)
       Base offense level                                7 § 2B1.1(a)(1)
       Loss (greater than $3.5 million)                +18 § 2B1.1(b)(1)(J)
       ≥10 victims                                      +2 § 2B1.1(b)(2)(A)(i)
       Subtotal                                         27

The disputed adjustments concern sophisticated means (U.S.S.G. § 2B1.1(b)(10)(C)), use of a

special skill (U.S.S.G. § 3B1.3), and zero-point offender (U.S.S.G. § 4C1.1). Depending on

which (if any) of the adjustments the Court applies, Turnipseede’s final offense level after

acceptance of responsibility could range from 22 to 28.

       For the reasons set forth below, this Court should apply the sophisticated means (+2) and

special skills (+2) adjustments and decline to apply the zero-point offender adjustment (-0),

resulting in a total adjusted offense level after acceptance of responsibility (-3) of 28.




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       A.      TURNIPSEEDE USED SOPHISTICATED MEANS TO EXECUTE HIS
               SCHEME TO DEFRAUD.

       The Guidelines call for a two-level enhancement where “the offense conduct involved

sophisticated means and the defendant intentionally engaged in or caused the conduct

constituting sophisticated means.” U.S.S.G. § 2B1.1(b)(10)(C). The related application note

further describes sophisticated means as “especially complex or especially intricate offense

conduct pertaining to the execution or concealment of an offense,” and then lists as nonexclusive

examples “hiding assets or transactions, or both, through the use of fictitious entities, corporate

shells, or offshore financial accounts” as conduct that would indicate sophisticated means.

U.S.S.G. § 2B1.1, app. n. 9(B). Turnipseede’s conduct falls squarely within the type of conduct

contemplated by the sophisticated means enhancement. As part of his scheme to defraud,

Turnipseede sent victim-investors fabricated periodic earnings statements showing their

purported “profits.” (R. 28: PSR, PageID 210, ¶ 10). These statements were false; at no point

did any of Turnipseede’s companies return profits even close to what he claimed on the earnings

statements. (Id., PageID 209-10, ¶ 9). Additionally, for tax years 2017 through 2019,

Turnipseede provided investors with Schedules K-11 prepared by an outside accounting firm

showing “profits” consistent with the information Turnipseede had provided on the earnings

statements throughout the year. (Id., ¶ 11). Because of Turnipseede’s fictitious documents,

victim-investors paid taxes on their purported “earnings.” (R. 28-1: Victim Impact Statements,

PageID 240, 285, 287). Turnipseede’s creation of falsified earnings statements, and subsequent



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  The purpose of a Schedule K-1 is to report each partner’s share of the partnership’s earnings,
losses, deductions, and credits on an individual’s tax return. The victim-investors were liable for
their purported earnings from MLA on their respective income taxes. See About Form 1065,
U.S. Return of Partnership Income, https://www.irs.gov/forms-pubs/about-form-1065 (last
visited May 13, 2025).


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use of the falsified earnings to cause an outside accounting firm to generate and provide victim-

investors Schedules K-1, gave his purported “profits” the indicia of reliability, lulling investors

into believing their “profits” were real.

       Although fictitious earnings statements and K-1s are not specifically listed in the

Guidelines’ application note, they serve a similar purpose as fictitious entities and corporate

shells – that is, to conceal the defendant’s fraud and to give his conduct the veneer of legitimacy.

The Sixth Circuit has upheld the application of the sophisticated means enhancement for a

defendant who created “false insurance certificates” in an insurance-fraud scheme, United States

v. Crosgrove, 637 F.3d 646, 667 (6th Cir. 2011); for a defendant who used “fictitious

identification numbers” and a “dormant account” to conceal theft from a credit union, United

States v. Simmerman, 850 F.3d 829, 833 (6th Cir. 2017); for defendants who ran a Ponzi scheme

by using “fraudulent bank documents” and “fictitious website information,” United States v.

Phelps, 2021 WL 4315947, at *6 (6th Cir. Sept. 23, 2021); for a defendant who executed and

concealed his fraud using a false broker's license, fictitious account documents, and fake online

accounts, United States v. Rupp, No. 22-1240, 2023 WL 370908, at *6 (6th Cir. Jan. 24, 2023),

cert. denied, 143 S. Ct. 2583, 216 L. Ed. 2d 1193 (2023); and for a defendant in a tax fraud

scheme who created fictitious jobs and W-2s to support false claims of income filed with the

IRS, United States v. Pierce, 643 F. App’x 500, 503 (6th Cir. 2016). Turnipseede’s conduct is in

the same vein, and this Court should apply the two-level enhancement for sophisticated means

under U.S.S.G. § 2B1.1(b)(10)(C).

       B.      TURNIPSEEDE USED A SPECIAL SKILL TO CARRY OUT HIS FRAUD
               SCHEME.

       The Guidelines call for a two-level enhancement for the use of a “special skill” in

facilitating the commission or concealment of the offense. U.S.S.G. § 3B1.3. The application



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notes define “special skill” as “a skill not possessed by members of the general public and

usually requiring substantial education, training or licensing.” Id. app. n. 4. Here, Turnipseede

claimed to have a proprietary betting algorithm that made double-digit returns. (R. 28: PSR,

PageID 208, ¶ 6). Turnipseede’s purported expertise and algorithm were persuasive enough to

convince C.G., a mathematician and author of multiple academic papers on sports wagering, to

join his venture in 2015. (Id., PageID 210-11, ¶ 12-13). Turnipseede then used C.G.’s expertise

as a way to burnish his own, leading the victim-investors to believe that Turnipseede’s algorithm

must be successful because C.G. was involved. Turnipseede’s emails to victim-investors

likewise touted his betting method: in March 2020, Turnipseede emailed investors that “our

algorithms and placement specialists are coming off record years in earnings by volume.” (Id.,

PageID 212, ¶ 21(a)). The fact that Turnipseede’s betting method did not, in fact, produce the

double-digit returns he touted to investors should not bar the application of the enhancement.

The Sixth Circuit upheld the application of a special skill enhancement where a former attorney

was convicted of conspiracy to commit money laundering, even though the documents she

produced and arguments she made were devoid of real law, where she used her legal training to

assist her coconspirator in the commission and concealment of his fraud, and used legal jargon

and official-looking documents to disorient the bank and convince it not to promptly rescind

payment from the coconspirator’s account. United States v. Tucci-Jarraf, 939 F.3d 790 (6th Cir.

2019). Throughout his years operating Moneyline Analytics and his other companies,

Turnipseede used his purported special skill at sports betting to lure investors into believing his

promises of substantial returns; he should not be able to avoid responsibility for it now that his

claims have proven to be fraudulent. This Court should therefore apply the two-level

enhancement for Turnipseede’s use of a special skill.




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       C.       TURNIPSEEDE SHOULD NOT RECEIVE THE ZERO-POINT OFFENDER
                ADJUSTMENT.

       The Sentencing Guidelines call for a two-level reduction in the offense level if a

defendant assessed no criminal history points and meets certain other criteria; the most relevant

in this case is that he did not “personally cause substantial financial hardship.” U.S.S.G. §

4C1.1(a)(1), (6). The guideline instructs the court to “consider, among other things, the non-

exhaustive list of factors provided in Application Note 4(F) of the Commentary to § 2B1.1.”

U.S.S.G. § 4C1.1(b)(3). The list in Application Note 4(F) includes whether the offense resulted

in the victim becoming insolvent, filing for bankruptcy, suffering substantial loss of a retirement

fund (or other savings/investment fund), making substantial changes to employment or living

arrangements, or suffering substantial harm to the ability to obtain credit. U.S.S.G. § 2B1.1 app.

n. 4(F). There were approximately 72 identified victims in this case. Approximately 11 victims

have returned victim impact statements as of the date of this filing. (R. 28-1: Victim Impact

Statements, PageID 232-306; Email from Probation Officer with attached Victim Impact

Statement to the parties and the Court (May 14, 2025, 9:50 a.m. EDT) (on file with author))2. Of

those, several impact statements describe financial hardship consistent with the list in

Application Note 4(F) (sic throughout):

            •   “I had an expectation of using my investment through Turnipseed as a means of

                funding my retirement. Because of the loss associated with this “investment” I

                have had to curtail my lifestyle, as has my wife.” (R. 28-1: Victim Impact

                Statements, PageID 245).



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  The victim impact statement attached to the probation officer’s May 14 email was returned
after the final PSR was filed and was therefore not included with the other victim impact
statements filed in R. 28-1.


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            •   “I have long wanted to retire early and use my Masters Degree in political science

                to teach part time at a local college, for a lot less money than I’m earning now.

                I’m not sure that is possible any more, as I will now have to work full-time longer

                than I would like, in order to feel financially secure in retirement. … While I am

                not retired yet, this act will almost certainly delay my retirement by years.” (Id.,

                PageID 299).

            •   “I am 72 years old, retired in 2021, and fighting cancer. The savings I invested

                with this company were my assurance to be able to retire and stay home resting

                and enjoying retirement. This money would have been the supplement to my

                Social Security check to help make ends meet every month. Needless to say, this

                company deprived me of a great part of my lifetime savings, that were supposed

                to give me peace of mind in my old age. … Now at the age of 72 and very sick, I

                find myself forced to go back to work in order to make enough money to make

                ends meet.” (Email from Probation Officer with attached Victim Impact

                Statement (May 14, 2025, 9:50 a.m. EDT)).

Given the above, this Court should find that Turnipseede is ineligible for the zero-point offender

adjustment under U.S.S.G. § 4C1.1 because he personally caused substantial financial hardship

to at least one victim.

III.    APPLICATION OF § 3553(A) FACTORS

        After setting the final adjusted offense level at 28, reviewing the § 3553(a) factors should

lead this Court to conclude that a Guidelines sentence of 78 to 97 months is appropriate in this

case. The nature and circumstances of his offense, the need for the sentence imposed to reflect

the seriousness of the offense and provide just punishment, and the need to afford adequate




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deterrence all argue strongly in favor of a Guidelines sentence. Matthew Turnipseede leveraged

his relationships with family, longtime neighbors, and friends to defraud them, first luring them

into investing into his gambling operation and then, when his betting system failed to materialize

the promised returns, falsified “earnings” statements that he provided to his victims. Turnipseede

promised double-digit returns; in reality, over 98% of the funds deposited into his business

accounts came from victims investing their money with him; “earnings” payments to investors

came from other investor money, not gambling winnings. (R. 28: PSR, PageID 209-10, ¶ 9).

Even though his betting system was never successful, from 2015 through 2021 (when the scheme

collapsed) Turnipseede continued to double down on both lying to his current investors and

continuing to seek out new ones – always looking for new money to prop up his scheme.

       While this case is Turnipseede’s first felony conviction, this is not an instance of an

otherwise law-abiding individual making one bad choice at one distinct moment in time.

Turnipseede’s fraud spanned years, during which he repeatedly made affirmative choice after

affirmative choice to lie to and defraud people who trusted him. Every day he could have chosen

to stop recruiting new investors or stop sending emails touting MLA’s “successes.” But day

after day, week after week, month after month, year after year, he made affirmative decisions to

continue his fraud.

       The victim impact statements illustrate the harm Turnipseede caused to his victims – not

only financial harm, but emotional harm as well. See R. 28-1: Victim Impact Statements,

PageID 232-306. In addition to the financial pain, the victims discuss their feelings of betrayal

upon discovering that someone they had known for years as a family friend had preyed on them

and betrayed their trust. The likelihood of Turnipseede making any significant inroads on his

restitution obligation is vanishingly small. The PSR indicates that Turnipseede’s current




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monthly cash flow is approximately $1,090.00. (Id., PageID 222, ¶ 76). Even assuming he were

able to apply that entire amount toward restitution payments, it would still take him over 351

years to pay everything back.

       Although Turnipseede’s risk of recidivism appears to be low – with a felony conviction,

Turnipseede should no longer be able to be in a position where he has access to unwitting

investors’ money – risk of recidivism should not be the determinative factor in his sentencing.

Additionally, any collateral consequences of Turnipseede’s conviction, such as the length of

these legal proceedings, the fact that he is now convicted a felon, and his embarrassment, if any,

before his community, neighbors, and friends, should likewise not be considered by this Court.

Consideration of these collateral consequences would tend to support shorter sentences for

defendants from privileged backgrounds and would not satisfy the goals of sentencing. United

States v. Musgrave, 761 F.3d 602, 606-07 (6th Cir. 2014). Further, because economic and fraud-

based crimes are more rational, cool, and calculated then sudden crimes of passion or

opportunity, they are prime candidates for general deterrence. Id. See also United States v.

Panyard, No. 07-20037-2, 2009 WL 1099257, at * 12 (E.D. Mich. April 23, 2009) (“White-

collar crimes…are often perceived as carrying substantially lesser punishment than other

comparable offenses,” making deterrence imperative when determining sentencing.).

       The PSR identifies Turnipseede’s history and characteristics as a potential ground for a

downward variance because a Guidelines sentence “may be greater than necessary to achieve the

purposes of sentencing set forth in 18 U.S.C. § 3553(a).” (R. 28: PSR, PageID 228, ¶ 107).

However, Turnipseede’s history and characteristics are unremarkable for a white collar

defendant, and his lack of criminal history is already accounted for by the Guidelines placing

him in Criminal History Category I. In addition, Turnipseede – as with many other white collar




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criminals – was in the position to prey on people because of his clean record; it was what

allowed him to earn the confidence of people with money to invest. In other words, his lack of

criminal record was the means by which he put himself in a position to enrich himself while

defrauding others.

        A Guidelines sentence of 78 to 97 months would serve the purposes and principles of

sentencing and would not create unwarranted sentence disparities among defendants with similar

records who have been found guilty of similar conduct. Recent Ponzi scheme sentences

nationwide have been substantially longer, reflecting the magnitude of the losses caused by these

types of fraud schemes. See, e.g., United States v. Brenner, No. 21-CR-772 (N.D. Ohio) (125

month sentence in $3.6 million investment fraud / Ponzi scheme); United States v. Darayl Davis,

No. 18-CR-25 (N.D. Ill.) (160-month sentence in $5.1 million investment fraud / Ponzi scheme);

United States v. Jeremy Anderson, No. 19-CR-23 (M.D. Fla.) (151-month sentence in $10

million Ponzi scheme); United States v. Jeff Carpoff, No. 20-CR-17 (E.D. Cal.) (30-year

sentence in $1 billion Ponzi scheme); United States v. Joshua Houchins, No. 20-CR-245

(E.D.N.C.) (10-year sentence for $1.7 million Ponzi scheme). In sum, a prison sentence within

the Guidelines range of 78-97 months (28/I) will meet the requirements for a sentence that is

sufficient, but not greater than necessary, to comply with the purposes of 18 U.S.C. § 3553(a).

IV.     RESTITUTION

        The United States requests that restitution be ordered in the amount of $4,731,165.10,

which is the sum of the victim-investors’ principal investments less any payments made by

Turnipseede on or before the date he filed for bankruptcy in Nevada, May 13, 2021. See

U.S.S.G. § 2B1.1 app. n. 3(D)(i) and (E)(iv). The government will provide the court a list of the




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victims and amounts owed to each to be included in the judgment entry at the time of

sentencing.3

        Because many of the victim-investors in this case are also creditors in the bankruptcy

proceedings and because the both the criminal case and bankruptcy proceedings concern the

same transactions (investments in Turnipseede’s betting companies), any payments or

distributions made to the victim-investors by Turnipseede in the bankruptcy cases should also be

credited toward his restitution in this case. The United States therefore asks that the following

language be included in the Judgment Entry in the special instructions regarding the payment of

monetary penalties:

        The Clerk’s Office is to apply any credits to the Defendant’s restitution obligation after

        Defendant’s bankruptcy proceedings in the District of Nevada, case numbers

        2:21bk14688 and 2:21bk12443, are concluded and the Trustee makes its final

        distributions and a final accounting is made to the Bankruptcy Court to ensure the

        Defendant’s restitution obligation is accurate and prevents any windfall or double

        payment to any victim.

The United States asks that this Court not impose a fine in this case because Turnipseede’s

restitution obligation is so large.

V.      CONCLUSION

        For the reasons outlined above, this Court should set Turnipseede’s total offense level at

28 after the application of all adjustments. Turnipseede’s offense conduct and other relevant

factors fall squarely within the scope of the facts and circumstances contemplated by the



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  If there are updates to the amount of requested restitution after the filing of this Memorandum,
the United States will provide an updated restitution figure at sentencing.


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Guidelines; therefore, a Guidelines sentence within the 28/I range will accomplish the goals of

18 U.S.C. § 3553(a). Thus, the United States respectfully requests that the Court impose a

sentence of 78-97 months in addition to ordering restitution as outlined above.



                                                      Respectfully submitted,

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